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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

                                                               §
  ROTHSCHILD CONNECTED DEVICES                                 §
  INNOVATIONS, LLC,                                            §
                                                               §
            Plaintiff,                                         §
                                                               §
            v.                                                 §
                                                               §
  GUARDIAN PROTECTION SERVICES, INC.                           §   2:15-cv-01431-JRG-RSP
                                                               §   (Lead Case)
  ADS SECURITY, LP                                             §   2:15-cv-01463-JRG-RSP
  ALARM SECURITY GROUP, LLC                                    §   2:15-cv-01464-JRG-RSP
  CENTRAL SECURITY GROUP NATIONWIDE, INC.                      §   2:15-cv-01462-JRG-RSP
  GUARDIAN ALARM COMPANY                                       §   2:15-cv-01496-JRG-RSP
  GUARDIAN OF GEORGIA, INC. D/B/A ACKERMAN                     §   2:15-cv-01429-JRG-RSP
  SECURITY SYSTEMS                                             §
  ICON SECURITY SYSTEMS, INC.                                  §   2:15-cv-01468-JRG-RSP
  MONITRONICS INTERNATIONAL, INC.                              §   2:15-cv-01466-JRG-RSP
  SLOMIN’S, INC.                                               §   2:15-cv-01469-JRG-RSP
        Defendants.



                                     NOTICE OF APPEAL


           Notice is hereby given that Defendant ADS Security, L.P. (“ADS”) in the above named

  case hereby appeals to the United States Court of Appeals for the Federal Circuit from the

  Court’s Order (Dkt. # 89) denying ADS’s Cross Motion for Attorneys’ Fees entered in this

  action on July 18, 2016.

                                               Respectfully submitted,
  Dated: August 17, 2016
                                             /s/ Nathan J. Bailey__________________
                                             Nathan J. Bailey (TN BPR # 026183)
                                                     (lead attorney)
                                             Matthew C. Cox (TN BPR # 028212)
                                             WALLER LANSDEN DORTCH & DAVIS, LLP


  4824-8887-6854.1
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                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the above and foregoing
  document has been served on August 17, 2016 to all counsel of record who are deemed to have
  consented to electronic service via the Court’s CM/ECF filing system per Local Rule CV-
  5(a)(3).



                                                     __/s/Nathan J. Bailey ________
                                                     Nathan J. Bailey




  4824-8887-6854.1
